Case 20-10553-CSS Doc965_ Filed 09/08/20 Page 1of 10

=_ aa

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 7

ART VAN FURNITURE, LLC, et ai.,' Case No, 20-10553 (CSS)

Debtors.

)
)
5
) Gointly Administered)
)
)

Re: Docket No, 911

 

ORDER APPROVING STIPULATION RESOLVING REQUEST FOR
ALLOWANCE AND PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS

Upon consideration of the stipulation by and among the Alfred T. Giuliano, Chapter 7

Trustee (the “Trustee”) of the debtors in the above-captioned chapter 7 cases (collectively, the

 

“Debtors”) and Rothman-O’Fallon, LLC (together “Rothman” or “Claimant”, collectively with the
Trustee, the “Parties”), regarding the resolution of the Parties’ dispute over Rothman’s asserted
administrative expenses, a copy of which stipulation is attached hereto as Exhibit } (the
“Stipulation”); and it appearing that the Court has jurisdiction regarding this matter pursuant to 28
US.C. §§ 1334 & 157 and the Amended Standing Order of Reference from the United States
District Court for the District of Delaware dated February 29, 2012; and it appearing that this
matter is core pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order
consistent with Article III of the United States Constitution; and it appearing that venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that due and adequate notice of the

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF
Holdings 1, LLC (2537); AVF Holdings IL, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art
Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325);
LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463), The location of the Debtors’
service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

BOCS_DE:230517.1 052334003

 
Case 20-10553-CSS Doc965_ Filed 09/08/20 Page 2 of 10

Stipulation and the relief provided for herein has been given under the circumstances, and that no
other or further notice need be given; and after due deliberation and good and sufficient cause
appearing therefor; it is hereby

ORDERED, ADJUDGED, AND DECREED THAT:

1. The Stipulation is APPROVED as set forth therein.

2. The Trustee is authorized and empowered to take all actions necessary or
appropriate to implement the relief granted in this Order and to effectuate the Stipulation.

3. Notwithstanding anything to the contrary in the Federal Rules of Bankruptcy
Procedure, this Order shal! be effective immediately and enforceable upon its entry, and shall not
be subject to any stay in its implementation.

4, The Court shall retain jurisdiction and power with respect to all matters arising from

or related to the implementation of this Order and the Stipulation.

 

DOCS_BE:2305%7. | 05233/003

 
Case 20-10553-CSS Doc965_ Filed 09/08/20 Page 3 of 10

[en- 77 a £44

EXHIBIT 1

Stipulation

DOCS_DE:230517.1 05233402

 
Case 20-10553-CSS Doc965_ Filed 09/08/20 Page 4 of 10

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

| )
In re: ) Chapter 7

)
ART VAN FURNITURE, LLC, et al,’ ) Case No. 20-10553 (CSS)

)
Debtors. ) (Jointly Administered)

)

 

STIPULATION RESOLVING REQUEST FOR
ALLOWANCE AND PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS

This Stipulation (the “Stipulation”) is entered into by and among Alfred T. Giuliano, the
chapter 7 trustee (the “Trustee”) to the estates of the above-captioned debtors and debtors in
possession (the “Debtors”), and Rothman-O’Fallon, LLC (“Claimant,” and together with the
Trustee, the “Parties”), by and through their respective undersigned counsel, based on the
following facts:

RECITALS

A, On March 8, 2020 (the “Petition Date”), each of the Debtors commenced a case
under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). The cases are
being jointly administered pursuant to Bankruptcy Rule 1015(b). |

B. On April 6, 2020, the Court entered an order converting the chapter 11 cases to
chapter 7 [Docket No. 263], effective April 7, 2020 (the “Conversion Date”), and Alfred T.
Giuliano was appointed as the chapter 7 trustee [Docket No. 264].

C. The Trustee continued to operate the Debtors’ businesses.

 

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
AVF Holdings I, LLC (2537); AVF Holdings I], LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
(8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The

DOCS_SF:104419.1

 
Case 20-10553-CSS Doc965_ Filed 09/08/20 Page 5 of 10

oo

ero Cee rote ee - gr -

D. The Debtors and the Claimant are parties to a lease of non-residential real
property located at 1776 W. Highway 50, O’Fallon, Illinois (the “Lease”).

E. The Lease was rejected effective as of June 30, 2020.

F, On July 28, 2020, Claimant filed a proof of claim (Claim No. 2882, the “Proof of
Claim”) with the Bankruptcy Court, asserting, among other things, a general unsecured claim in
the amount of $423,970.56,

G. | On August 13, 2026, Claimant filed its Motion for Allowance and Payment of
Administrative Expense Pursuant to Section 503(b)(1)(A) of the Bankruptcy Code [Docket No.
911} (the “Administrative Claim Motion”) with the Bankruptcy Court, seeking, among other
things, the allowance and payment of: (a) a chapter 11 administrative expense claim in the
amount of $33,636.51 (the “Chapter 11 Claim”) and (b) chapter 7 administrative expense claim
in the amount of $97,429.89 (the “Chapter 7 Claim”).

H, On August 13, 2020, the Bankruptcy Court entered its Final Order (2) Authorizing
the Trustee to Use Cash Collateral, (I) Granting Adequate Protection to the Prepetition Secured
Parties, (I) Modifying the Automatic Stay, and (IV) Granting Related Relief (the “Final Cash
Collateral Order’). Pursuant to the Final Cash Collateral Order, the Trustee is authorized to
enter into this Stipulation and make the payments to the Claimant contempiated herein, subject to
the Budget (as defined in the Final Cash Collateral Order) and approval of the Bankruptcy Court.

1 The Parties have engaged in settlement discussions and negotiations, and now
seek to settle, compromise, and resolve their disputes relating to the Chapter 11 Claim, the

Chapter 7 Claim, and the Administrative Claim Motion.

 

location of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan
48092.

DOCS _SF:104119.1

 
Case 20-10553-CSS Doc965_ Filed 09/08/20 Page 6 of 10

~

STIPULATION

NOW, THEREFORE, the Parties, intending to be legally bound upon the joint execution
and Bankruptcy Court approval of this Stipulation, agree as follows:

1. Effective Date. The “Effective Date” of the Stipulation shall be the date the
Bankruptcy Court enters an order approving this Stipulation.

2, Allowance of Chapter 11 Claim. Upon the Effective Date, the Chapter 11 Claim
shall be compromised and allowed in the amount of $23,086.36 (the “Allowed Chapter 11
Claim’).

3, Allowance of Chapter 7 Claim. Upon the Effective Date, the Chapter 7 Claim
shall be compromised and allowed in the amount of $66,870.85 (the “Allowed Chapter 7 Claim”
and, together with the Allowed Chapter 11 Claim, the “Allowed Administrative Claims”).

4, Payment of Allowed Administrative Claims. The Allowed Chapter 11 Claim and
Allowed Chapter 7 Claim shall be via wire transfer pursuant to wire instructions provided by the
Claimant or in any other instance, by check, as follows: (i) fifty percent (50%) of the Allowed
Chapter 11 Claim and fifty percent (50%) of the Allowed Chapter 7 Claim shall be paid on or
before September 30, 2020; and (ii) the remaining fifty percent (50%) of the Allowed Chapter 11
Claim and the remaining fifty percent (50%) of the Allowed Chapter 7 Claim shall be paid on or
before October 31, 2020. The date that the Allowed Chapter 11 Claim and Allowed Chapter 7
Claim are both paid in full shall be referred to herein as the “Final Payment Date.”

5. Security Deposit. Upon the Final Payment Date, the automatic stay shall be lifted
pursuant to section 362(d) of the Bankruptcy Code solely to allow the Claimant to immediately
setoff and apply any security deposit against its claim resulting from rejection of the Lease in full

and final satisfaction of any such claims.

DOCS_SF:104119.1

 
Case 20-10553-CSS Doc 965 Filed 09/08/20 Page 7 of 10

~~,

6. Withdrawal of Administrative Claim Motion. Upon the Effective Date, the
Administrative Claim Motion shall be deemed withdrawn.

7. Withdrawal of Proof of Claim. Upon the Final Payment Date, the Proof of Claim

 

shall be deemed withdrawn with prejudice.

8. Release of Claims by Claimant. Upon the Final Payment Date, the Claimant
irrevocably waives, releases, and discharges all claims, obligations, suits, judgments, remedies,
damages, demands, debts, rights, causes of action, and liabilities against the Trustee, the Debtors,
the Debtors’ bankruptcy estates, the Debtors’ affiliates and subsidiaries, and their respective
present and former employees, agents, attorneys, consultants, financial advisors, and insurers
(each in their capacity as such) (collectively, the “Debtor Released Parties”) that Claimant has,
may have, or is entitled to assert, whether known or unknown, liquidated or unliquidated, fixed
or contingent, foreseen or unforeseen, matured or unmatured, in law, equity, or otherwise,
against the Debtor Released Parties based in whole or in part upon any act or omission,
transaction, or occurrence taking place on or prior to the Effective Date in connection with the
Debtors, the Trustee, and/or the above-captioned chapter 7 cases, including, but not limited to, in
connection with the Lease, including common area maintenance, property taxes, insurance, and
utilities, or any rejection damages that the Claimant may have pursuant to 11 U.S.C. § 365;
provided, however, that nothing herein shall affect the Claimant’s right under paragraph 4 of this
Stipulation; provided further, that nothing herein shall be deemed to be a release of any claims or
obligations of any Party arising under or in connection with this Stipulation.

9. Release of Claims by Trustee. Upon the Final Payment Date, the Trustee, in his
capacity as chapter 7 trustee of the Debtors, irrevocably waives, releases, and discharges all

claims, obligations, suits, judgments, remedies, damages, demands, debts, rights, causes of

DOCS_SF:104119.5

 
Case 20-10553-CSS Doc965_ Filed 09/08/20 Page 8 of 10

oe ~ faa

action, and liabilities against Claimants that the Debtors or Trustee, individually or collectively,
have, may have or are entitled to assert, whether known or unknown, liquidated or unliquidated,
fixed or contingent, foreseen or unforeseen, matured or unmatured, in law, equity, or otherwise,
against the Claimant based in whole or in part upon any act or omission, transaction, or
occurrence taking place on or prior to the Effective Date; provided, however, nothing herein
shall be deemed to be a release of any claims or obligations of any Party arising under or in
connection with this Stipulation.

10. Notwithstanding the foregoing, or any other provision of this Stipulation,
the mutual releases granted by the Parties under paragraphs 8 and 9 of this Stipulation shall be
effective only upon approval by the Bankruptcy Court and final payment of the Allowed
Administrative Claims.

ll. ‘The person who executes this Stipulation by or on behaif of each respective Party
represents that he/she has been duly authorized and empowered to execute and deliver this
Stipulation on behalf of such Party.

12. In executing the Stipulation, each of the Parties represents and warrants, for itself,
that: {a) it does so with full knowledge of its available rights, (b) it is not relying and has not
relied upon any representations made by any person with regard to the Stipulation, other than any
written representations and agreements contained herein, (c) it has had available to it such
information as it or its counsel considered necessary to making an informed judgment
concerning the Stipulation, and (d) it has conducted such investigation as it or its counsel deemed
appropriate regarding the settlement and its rights and asserted rights in connection with the

matters that are the subject of the Stipulation.

DOCS_SF:104119.5

 
Case 20-10553-CSS Doc 965 Filed 09/08/20 Page 9 of 10

”~ = AA

i3. The Claimant represents and warrants that it has not assigned any claims giving
rise to the Allowed Administrative Claims. |

14. Each of the Parties shall each bear their own costs and expenses with respect to
this Stipulation.

13. This Stipulation constitutes the entire agreement between the Parties with respect
to the subject matter hereof, and all prior agreements, negotiations, and understandings with
respect to the subject matter hereof are canceled and superseded by the Stipulation.

16. This Stipulation may not be varied in its terms by an oral agreement or
representation and may be varied in its terms only by an instrument in writing of subsequent date
hereof executed by all of the Parties.

17. — This Stipulation shall be governed by the internal laws of the State of Delaware
and shall be construed and interpreted in accordance with its laws, notwithstanding its conflict of
laws, principles or any other rule, regulation or principle that would result in the application of
any other state’s law.

18. Should any provision of this Stipulation be held by any court of competent
jurisdiction to be illegal, invalid, or unenforceable for any reason, then the remaining portions of
this Stipulation will nonetheless remain in full force and effect, unless such portion of the
Stipulation is so material that its deletion would violate the obvious purpose and intent of the _
Parties.

19, The Parties agree that no breach of any provision of this Stipulation can be
waived except in writing. The waiver of a breach of any provision of this Stipulation shall not be

deemed a waiver of any other breach of any provision hereof.

DOCS_SPF:L04119.4

 
Case 20-10553-CSS Doc965_ Filed 09/08/20 Page 10 of 10

rt - Se te _— =~ 28

20. This Stipulation may be executed in multiple counterparts, any of which may be
transmitted by electronic mail, and each of which shall be deemed an original, but all of which
together shall constitute one and the same Stipulation.

Dated: September 4, 2020 PACHULSKI STANG ZIEHL & JONES LLP

é/s/ Colin R. Robinson

Bradford J. Sandler (DE Bar No. 4142)

Colin R. Robinson (DE Bar No, 5524)

Peter J. Keane (DE Bar No. 5503)

919 N. Market Street, 17th Floor

Wilmington, DE 19801

Telephone: (302) 652-4100

Facsimile: (302) 652-4400

Email: — bsandler@pszjlaw.com
crobinson@pszjlaw.com
pkeane@pszjlaw.com

 

Counsel to Alfred T. Giuliano,
Chapter 7 Trustee

GREENSFELDER, HEMKER & GALE, P.C. -

By: /s/ Randall F, Scherck
Randail F, Scherck (admitted pro hac vice)
rscherck@greensfelder.com
10 South Broadway, Suite 2000
St. Louis, Missouri 63102
(314) 241-9090
Facsimile: (314) 345-5488

Attorney for Claimant O’Fallon-Missouri Properties, LLC

DGCS_SF:104119.1

 
